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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

The Board of Trustees of The University of Illinois
                                                      Plaintiff,
v.                                                                      Case No.:
                                                                        1:21−cv−06546
                                                                        Honorable John
                                                                        Robert Blakey
Vintage Brand, LLC
                                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 10, 2022:


         MINUTE entry before the Honorable John Robert Blakey: Plaintiff having filed a
third amended complaint [65], the Court denies without prejudice Plaintiff's motion to
strike certain of Defendant's affirmative defenses [55]. Defendant shall respond to the
third amended complaint by 11/15/22. Additionally, based upon the representations in the
parties' most recent status report [67], the Court hereby extends fact discovery to 1/31/23.
The parties shall file an updated status report by 2/10/23 confirming that fact discovery is
complete and proposing reasonable expert discovery dates. The parties shall exhaust the
possibility of settlement before spending time and money on expert discovery and
dispositive motions. To this end, Plaintiff shall make a formal, written demand by 2/3/23,
and Defendants shall respond (in writing) by 2/7/23. The parties shall confirm in their
2/10/23 status report that they have complied with this aspect of the Court's order. Finally,
Defendant Vintage Brand has moved for partial summary judgment [68]. But, absent
cause, the Court generally does not permit piecemeal summary judgment briefing. And
briefing the motion at this time, with a new Defendant recently added to the case, does not
promote efficiency. Accordingly, the Court denies the motion [68] without prejudice. If
Defendant can demonstrate that, despite the current circumstances, the motion makes
sense at this juncture, it may seek reconsideration of this ruling and explain why the
motion should proceed at this time. The 11/17/22 Notice of Motion date is stricken.
Mailed notice(gel, )




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criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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